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                  Exhibit E
12/8/23, 12:27 PM Case 2:15-cv-01045-RFB-BNW
                                    Notice AdministratorDocument
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                                                                                                        UFC Fighters




 Notice Administrator Angeion
 Group Announces Certification of
 Class of UFC Fighters

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 08 Dec, 2023, 09:00 ET




                  Le, et al. v. Zuffa, LLC, d/b/a Ultimate Fighting Championship and UFC


  If you competed in one or more live professional UFC-promoted MMA bouts taking place
     or broadcast in the United States from December 16, 2010 to June 30, 2017 (the "Class
      Period"), you could be affected by the Court's Class Certification Decision and Order.


                                                Please read this notice carefully.



   A federal court directed this Notice. This is not an advertisement or a solicitation from a
                                                                     lawyer.


 PHILADELPHIA, Dec. 8, 2023 /PRNewswire/ -- On August 9, 2023, the United States District
 Court for the District of Nevada issued an order certifying a class of UFC fighters (the "Bout
 Class") in a class action lawsuit (the "Action") entitled Cung Le, et al. v. Zuffa, LLC, d/b/a
 Ultimate Fighting Championship and UFC. The Bout Class consists of anyone who fought
 for the UFC in a mixed martial arts ("MMA") bout taking place or broadcast in the United




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 States from December 16, 2010 to June 30, 2017. The Bout Class excludes all persons who
 are not residents or citizens of the United States unless the UFC paid such persons for
 competing in a bout fought in the United States.


 The Plaintiffs in the Action allege that Defendant Zuffa LLC, d/b/a Ultimate Fighting
 Championship and UFC (the "UFC" or "Defendant") used an anticompetitive scheme to
 eliminate competition in the market for Elite Professional MMA Fighter services and
 suppressed compensation for UFC Fighters. Specifically, Plaintiffs allege that Zuffa (a)
 acquired multiple potential rival MMA promotion companies and locked up the acquired
 companies' fighters into exclusive contracts with the UFC, (b) entered into long-term
 exclusive contracts with UFC fighters that effectively blocked the vast majority from fighting
 for rival MMA promotions, and (c) coerced fighters into remaining locked into long-term
 exclusive deals with the UFC (the conduct taken together, the "Scheme"). Plaintiffs further
 allege that, as a result of the Scheme, the UFC artificially suppressed the bout pay of UFC
 fighters. Plaintiffs seek to obtain from Defendant in this Action money damages to recover
 for the amount Plaintiffs claim members of the Bout Class were underpaid due to the
 alleged Scheme. The Plaintiffs are asking for damages of $811 million to $1.6 billion.
 Plaintiffs also seek injunctive relief to stop the Defendant from continuing to engage in the
 alleged anticompetitive conduct.


 Defendant denies Plaintiffs' claims and any allegation of wrongdoing. Defendant asserts
 that through its efforts to grow MMA and the UFC, Defendant has consistently increased
 the number of events that it promotes and the compensation paid to fighters who
 participate in its MMA bouts. Defendant contends that the conduct at issue was pro-
 competitive, not anticompetitive: (a) Defendant's acquisitions of other MMA promotion
 companies helped grow the MMA industry by efficiently allocating resources and did not
 result in the improper foreclosure of competitors, as evidenced by new market entrants
 and the continued growth of rival MMA promotion companies; (b) Defendant's exclusive
 contracts with UFC fighters did not foreclose a substantial share of the market for MMA
 fighter services and were in fact pro-competitive because they were supported by
 legitimate business justifications; and (c) Defendant did not "coerce" fighters to sign long-
 term exclusive contracts with the UFC, but rather hired the best fighters—who want to fight
 in the UFC—to help its business grow and re-signed those fighters to contracts of greater or

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 equal value to those offered by other MMA promotions, none of which is anticompetitive.
 Defendant denies that there are any damages or that injunctive relief is warranted. The
 Court has not decided which side is correct.


 The Court has appointed Berger Montague PC, Joseph Saveri Law Firm, LLP, and Cohen
 Milstein Sellers & Toll PLLC as Class Counsel to represent the Bout Class, and plaintiffs Cung
 Le, Jon Fitch, Kyle Kingsbury, Javier Vasquez, and Brandon Vera as class representatives.


 The Court has set the case for trial beginning on April 8, 2024.


 As authorized by the Court, the Court-appointed notice administrator has begun a plan to
 distribute notice to the Bout Class. The notice provides important information to members
 of the Bout Class, including:


         Who is a member of the Bout Class? Anyone who fought in a UFC MMA bout that
         took place or was broadcast in the United States between December 16, 2010 and
         June 30, 2017. The Bout Class excludes all persons who are not residents or citizens of
         the United States unless the UFC paid such persons for competing in a bout fought in
         the United States. If you are a member of the Bout Class, you do not need to do
         anything more at this time to remain in the Bout Class.
         Am I giving anything up by staying in the Bout Class? By remaining in the Bout
         Class, you retain your right to take part in any settlement or judgment, but you will be
         bound by the outcome of the Action and will give up your right to file or continue
         your own lawsuit covering the same or similar claims as in the Action.
         Is there money available now? There is no money available now from the Defendant,
         or any guarantee that there will be money available in the future. The outcome of the
         Action against the Defendant is not yet known.
         Can I file my own lawsuit against the UFC? If you wish to file your own lawsuit
         against Zuffa, you must exclude yourself (or "opt out") from the Bout Class in writing by
         January 22, 2024. If you exclude yourself from the Bout Class, you will receive no
         payment from the Defendant arising out of this Action, even if any monies are
         collected in this Action as the result of a trial or settlement.


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 A website has been established that has more information about the Class Action,
 including important documents from the lawsuit and copies of the notices. Visit
 www.UFCFighterClassAction.com if you would like to learn more.


 Media Contact:
 Angeion Group
 Shiri Lasman
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